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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 KEVIN CUNNINGHAM                                  )
                                                   )   No. 1:21-cv- 5368
                    Plaintiff,                     )
                                                   )   Hon. Virginia M. Kendall
                        v.                         )   District Court Judge
                                                   )
 ROUNDY’S ILLINOIS, LLC., D/B/A                    )   Hon. Sheila M. Finnegan
 MARIANO’S                                         )   Magistrate Judge
                                                   )
                   Defendant.                      )   JURY DEMAND
                                                   )

             PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
        MOTION TO CONSOLIDATE PURSUANT TO FEDERAL RULE OF CIVIL
             PROCEDURE 42 AND MOTION TO REASSIGN RELATED
                   CASES PURSUANT TO LOCAL RULE 40.4

   I.      INTRODUCTION

           A. History of Previous Proceedings

        On July 6, 2022, pursuant to Fed. R. Civ. P. 20, this Court issued a ruling severing 23

Plaintiff claims which had filed together in this single Fair labor Standards Act (FLSA) action.

This Court’s opinion reasoned that since the joined claims were previously decertified as a

collective action, that severance of the claims under Rule 20 was warranted. This Court ruled that

since the joinder analysis under Rule 20 was more stringent than the “similarly situated” threshold

pertinent to the evaluation of decertification of a collective action, here the joined plaintiffs here

were necessarily unable to satisfy joinder under Rule 20 and thus, severance of the claims was

required. Cunningham, et al., Dkt. 29.

        To date, fourteen (14) of the severed claims have been refiled in this district, shot-gunned

by random assignment across 11 different judges, including one severed claim that was randomly




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assigned to this Court (see footnote 3). In the instant Motion, Plaintiff Cunningham moves this

Court for consolidation of those other 13 claims here, for the reasons developed infra.

        As noted in this Court’s severance ruling, the filing of the 23 claims in the Cunningham

case had as their origin an FLSA wage and hour collective action, before the Honorable Elaine E.

Bucklo - Haugen, et al. v. Roundy’s Illinois, LLC, Case No. 18-cv-7297. The claims brought by

the two named Plaintiffs in Haugen were, for all practical purposes, identical to those alleged here

– that Roundy’s improperly compensated them (under the title of Personal Service Managers or

“PSMs”) as exempt/salaried employees and failed to pay overtime for hours worked over 40 in a

work week.1 Haugen Dkt. 1, 38. The two named Plaintiffs in Haugen moved for stage-one

collective action certification. Haugen Dkt. 39, 40. After contested briefing, Judge Bucklo

conditionally certified a collective action which resulted in the joinder (via returned opt-in

consents) of each of the 15 Plaintiffs who have now filed their own, individual actions. See Haugen

Dkt. 50, 51. After discovery as to a portion of the collective class, Roundy’s moved for

decertification. Haugen Dkt. 109. In ruling on Roundy’s decertification motion, Judge Bucklo

found that the opt-in class members, under the prescribed legal analysis, were not sufficiently

similar to the named Plaintiffs, and decertified the collective. Haugen Dkt. 124, 125.

        As described below, the forced results of Roundy’s insistence that these fifteen (15) PSM

claims (the “PSM Cases”)2 be litigated separately in individual cases, has been months and months

(indeed years) of motion practice. All of that motion practice has now produced 15 individual

cases, filed by 15 different current and former Roundy’s PSMs, who each worked the same



1
  The original named Plaintiffs in the Haugen matter later settled their claims against Defendant following
a second settlement conference before Hon. Sheila M. Finnegan. The settlement was approved on the
record, as required by 7th Circuit precedent. Dkt. 148, 149. See Salcedo v. D’Arcy Buick GMC, Inc. 227
F.Supp.3d 960.
2
  See Exhibit 1, a complete list of each of the cases and their random judicial assignment.
                                                    2
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position identified by Roundy’s by the exact same title (PSM), at one or more of Roundy’s chain

grocery stores (some PSMs crossed over and worked at multiple stores), in the same region,

sometimes under the same store manager, and under the same corporate structure. See Exhibit 1,

a summary chart of those cases and judicial assignments.3 Roundy’s has now filed 15 separate

motions to dismiss under Rule 12, based upon the identical assertion that each of the 15 Plaintiffs

have failed in their complaints to state a cause of action upon which relief can be granted. Various

judges, including this Court, have or will set briefing schedules on each of those 15 motions,

bolstering the prospect of inapposite rulings based upon different judicial theories within the same

District. Additionally, absent consolidation and assuming Plaintiffs survival of Roundy’s motions

to dismiss, ultimately 11 different judges will assess Roundy’s corporate structure and job duties

(and a myriad of other factual circumstances) in assessing the Company’s administrative

exemption affirmative defense. Should these cases not be consolidated, all of these similar factual

matters, although subject by the same legal standards, will flow through 11 different judicial

lenses. As argued below, neither the previous decision by Judge Bucklo decertifying the Haugen

collective or the ruling by this Court severing the group of PSM claims from this case under Rule

20, prohibits this Court from properly granting consolidation under the less stringent standards of

Rule 42(a) and L.R. 40.4.

       In this Motion, the Plaintiffs in each of those other 13 cases hereby request this Court to

exercise its discretion, consolidate the described cases under the provisions of Rule 42(a) and L.R.

40.4, and thereafter manage all cases under one umbrella of judicial authority, at least for discovery

and pre-trial matters. To do otherwise will very likely promote a chaotic set of inconsistent rulings

from each of the 11 courts relative to Roundy’s theory of dismissal and uniform, across the board,


3
  This Court, in a random reassignment, was assigned one additional PSM case from the group that was
severed: Furhmann v Roundy’s Illinois, 1:22-cv-04035
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administrative exemption affirmative defense. Such erratic and uneven outcomes, within the same

District, is exactly what Rule 42 and Local Rule 40.4 are designed to protect against.

       Although the merit of Roundy’s motion(s) to dismiss is not yet before this Court (other

than via the Furhmann matter), a modest discussion of that motion is significantly relevant to this

Motion for Consolidation. In each of the 15 motions to dismiss, Roundy’s makes identical statute

of limitations arguments regarding the filing dates of the 15 decertified claims. Roundy’s argues

in each attack that Judge Bucklo’s “clarification order” of September 13, 2021 regarding the re-

filing date of the decertified claims, operated as a dispositive date relative to the statute of

limitations, even though Judge Bucklo’s clarification order doesn’t say that and Roundy’s provides

no case authority to support its argument. Roundy’s instead argues in the abstract that Judge

Bucklo’s requirement that “[d]ismissed opt-in plaintiffs may refile their collective claims

dismissed by this court on an individual basis on or before October 5, 2021” (emphasis added) was

a mandatory refiling date, without regard to the long-established concept of “relation back” of

claims previously dismissed and then refiled (Cunningham was filed with the Court four (4) days

later, on October 8).

       Such an argument is tenuous at best, and at the appropriate time before the appropriate

judge, each Plaintiff will argue that 1) Judge Bucklo’s clarification order did not establish a

mandatory refiling date as it relates to the statute of limitations, 2) that all Plaintiffs’ “group”

refiling in this Cunningham case before this Court, related back to their claims against Roundy’s

in the original Haugen FLSA collective action that was before Judge Bucklo, and 3) that Roundy’s

has not asserted, nor can it establish, any prejudice or disadvantage as a result of the 4 day tardiness

it asserts as fatal in the motions to dismiss. All 15 Plaintiffs will ask that Roundy’s dismissal




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motion be denied. But that request should be decided by one (1) judge, rather than 11 different

judges.

          In summary, absent consolidation, 11 different judges, in chambers mere hallways and

floors from one another, would consider 15 identical dismissal attacks by Roundy’s as well as 15

identical defense to those dismissals, and then (assuming survival of the dismissal motions),

consider Roundy’s affirmative defense to the overtime claims, all under and within each judge’s

individual discretion. The cases need not proceed in that manner because Rule 42 and L.R. 40.4

were designed to accomplish consistent outcomes of claims that involve any common question of

law or fact (Rule 42), and to homogenize the handling of all such related cases, by the same judge,

so as to accomplish consistent rulings and provide the parties and the court with a process that

promotes substantial saving of judicial time and effort. (L.R. 40.4).

             B. Summary of All Plaintiffs’ Claims vs. the Common (and only) Defendant,
                Roundy’s Illinois, LLC

          All 15 Plaintiff litigants referred to herein were employed by Roundy’s as People Services

Managers (or “PSMs”) and are collectively referred to herein as the “PSM Cases”. Each PSM case

possess not just many common questions of fact as to the other PSM cases, as required under Local

Rule 40.4, but identical questions of both law and fact with regard to the motions to dismiss and

identical questions of law and similar questions of fact regarding the claimed affirmative defense

(the administrative exemption). The PSM Cases involve the same Defendant (Roundy’s). The

PSM Cases involve identical allegations that Defendant violated the FLSA, IMLW and (in a few

cases) the CMWO by misclassifying each Plaintiff as a salary-exempt employee.4 The PSM Cases


4
  Not every one of the PSM Cases include allegations under the Chicago Minimum Wage Ordinance, as
some of the Mariano’s store locations where some PSMs worked were outside of the City of Chicago.
However, as referenced herein, that difference only impacts (and even then, only slightly) the damage
calculations. The inclusion of the CMWO claims in some of the cases does not impact the salary exemption
affirmative defense postured by Defendant in all of the cases.
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are represented by the same plaintiff and defense counsel. Lastly, and perhaps more importantly,

Defendant filed identical motions to dismiss in each of the PSM Cases. These basic facts alone,

without further support, provide a sufficient basis for consolidation of all PSM vs. Roundy’s cases

pursuant to Rule 42 and Local Rule (“L.R.”) 40.4.

       Through conflation of plainly different legal standards, Roundy’s can be expected to argue

that because of the ruling related to decertification of the collective action previously conditionally

certified under 29 U.S.C. §216(b) (Judge Bucklo’s ruling), and then the subsequent severance of

those claims under Rule 20 (this Court’s ruling), Plaintiff’s instant motion requesting consolidation

and reassignment should be denied. Roundy’s can be expected to further defend these cases with

the ongoing strategy of divide, conquer and render pursuit of the claims as expensive and

burdensome as possible (even on the judiciary of the Northern District) by further arguing that the

existence of certain individualized inquiries should prevent consolidation and reassignment. Such

arguments will not carry the day for Roundy’s on this Motion, as the relevant consolidations

standards under both Rule 42 and L.R. 40.4 are significantly more accommodating than those

applicable to decertification of a collective action or severance under Rule 20.

        Further, an assessment of “individualized inquiry” is not a factor for consideration under

Rule 42 or L.R. 40.4. That is a concept considered under Rule 23 and, to a lesser extent, under

§216(b) of the FLSA. The considerations for the Court under Rule 42(a) require only common

issues of law or fact. The circumstances presented here offer the precise circumstances Rules 42

and 40.4 were designed to address. For this reason, and additional reasons discussed infra, this

Court should order the consolidation of the PSM cases.

       Currently, with respect to discovery and other pre-trial matters, the PSM Cases are ripe for

consolidation in order to promote judicial economy for both the individual plaintiffs and



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Roundy’s.5 One set of discovery rules and schedules will absorb substantially less resources in

discovery where disputes may be occurring over identical discovery issues, especially in light of

the fact that several of the PSMs, at times, worked under overlapping store managers at the same

store locations. The judicial economy aspect cannot be denied.

II.      LEGAL STANDARD

         Plaintiff’s request for reassignment and consolidation rests upon Federal Rule of Civil

Procedure (Rule) 42 and Local Rule 40.4 of the Northern District of Illinois. Rule 42 provides, in

pertinent, part:

                   Rule 42. Consolidation; Separate Trials
                   (a) Consolidation. If actions before the court involve a common question of law
                       or fact, the court may:

                          (1) join for hearing or trial any or all matters at issue in the actions;
                          (2) consolidate the actions; or
                          (3) issue any other orders to avoid unnecessary cost or delay.

         As argued more thoroughly below, this District has not hesitated to consolidate related

cases under Rule 42 appropriate where cases “involve common questions of law or fact.” The

issue of consolidation under Rule 42 “is a decision left to discretion of the district court.” Stingley

v. Laci Transp., Inc., No. 18-CV-06221, 2020 WL 12182491, at *2 (N.D. Ill. Dec. 1, 2020)

(internal citations omitted). The purpose of consolidation is to “promote judicial efficiency” unless

significant prejudice to any of the parties outweighs the value of increased efficiency. Id.

Consolidation is also proper and may be ordered by the court “where there is a risk of inconsistent



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  Roundy’s success in the decertification and severance efforts could be viewed as hollow, as those sorts of
procedural victories often are. Yes, Roundy’s strategies have trimmed off approximately seven (7) (of the
most modest) PSM claims and has placed upon Plaintiffs and this Court substantial extra work. Yet, despite
the inescapable reality that litigating these claims under a cohesive and efficient management tool,
Defendant insists on the more expensive route in hopes that corporate resources will provide a marathon
that individual Plaintiffs will not be able to sustain – a strategy that ignores the absorption of significant
and valuable judicial resources.
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rulings.” Id. See also Tipsword v. IFDA Servs., Inc., No. 09-cv-390, 2010 WL 1521612, at *1 (S.D.

Ill. Apr. 14, 2010) (“Consolidation will help avoid the potential for inconsistent rulings on these

important issues”).

       It is also important to here note the nuance of language utilized in Rule 42(a)(1). The Rules

Committee strives to construct precise and meaningful verbiage within the Federal Rules of Civil

Procedure, and Rule 42(a) specifically says the court may “join for hearing or trial any or all

matters at issue in the actions (emphasis added). Thus, if this Court deems “any” of the “matters”

at issue in the actions as sufficiently related as to support consolidation, but finds others are not,

this Court possesses the express discretion to parse out appropriate issues for consolidation from

issues it finds inappropriate for consolidation. Plaintiffs’ position is that all matters concerning

Roundy’s motions to dismiss and the issues concerning Roundy’s identical affirmative defenses,

are appropriate for and far better served by consolidation.

       Local Rule 40.4 of the Northern District of Illinois states, in pertinent, part:

               LR 40.4 Related Cases, Reassignment of Cases as Related

              (a) Definitions. Two or more civil cases may be related if one or more of the
       following conditions are met:

                       (1) the cases involve the same property;
                       (2) the cases involve some of the same issues of fact or law;
                       (3) the cases grow out of the same transaction or occurrence; or
                       (4) in class action suits, one or more of the classes involved in the cases is
                       or are the same.

              (b) Conditions for Reassignment. A case may be reassigned to the calendar of
       another judge if it is found to be related to an earlier-numbered case assigned to that judge
       and each of the following criteria is met:

                       (1) both cases are pending in this Court;
                       (2) the handling of both cases by the same judge is likely to result in a
                       substantial saving of judicial time and effort;




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                        (3) the earlier case has not progressed to the point where designating a later
                        filed case as related would be likely to delay the proceedings in the earlier
                        case substantially; and

          Here, not all the conditions of LR 40.4 are satisfied, but not all conditions need to be

present. As clearly shown infra, the plain language of LR 40.4(a) requires only “one or more” of

the four (4) enumerated “conditions” to be in play. Here, 40.4(a)(2) (that “the cases involve some

of the same issues of fact or law) is easily satisfied. The issues of law and fact relative to Roundy’s

15 motions to dismiss, AND the underlying exemption issue, pivot on not just some of the same

issues of law and fact, but identical law and predominately the same facts. Without consolidation,

those decisions will be discretionary decisions by 11 different district court judges. It cannot be

denied, even by Roundy’s, that 1) with regard to the 15 motions to dismiss, the law AND the facts

are identical across the 15 cases, 2) with regard to the underlying issue of the propriety of its

claimed administrative exemption, more than just “some” of the facts are the same (the only

modest factual difference being a handful of differences in some of the PSMs’ day-to-day job

duties) and, 3) the administrative exemption analysis requires analysis of identical questions of

law across all 15 claims.

III.      ARGUMENT

          A.     All PSM Cases at Issue Are Anchored in the Analysis of the Same Competing
                 Principles of Law – Roundy’s 15 Identical Motions to Dismiss and Roundy’s
                 Classification of all PSMs as Salary Exempt Under the Prevailing Wage and
                 Hour Laws.

          A plethora of reasons are present as to why the facts and law involved in the PSM Cases

squarely fit the consolidation considerations of Rule 42. All individual plaintiffs in the PSM cases

are represented by John W. Billhorn and Samuel D. Engelson of the Billhorn Law Firm. In all

cases, Roundy’s is represented by Greiman, Rome & Griesmeyer, LLC. All the individual cases

seeking consolidation were just recently filed, and the posture of each case has been identical,

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beginning with Roundy’s filings of 15 identical motions to dismiss. Each of the individual judges

assigned to the 15 PSM Cases has entered (or will enter) a briefing schedule, which Plaintiffs have

asked or will ask to be stayed until this Court resolves the issue of consolidation. As such, each of

the PSM Cases are at an identical stage in each litigation – no case is beyond the other in any

meaningful way.

        All PSMs, including Cunningham in this case, allege they have been denied their lawful

overtime wages as provided by the FLSA and related state and local laws, by way of Roundy’s

misclassification of them as salary-exempt employees. The operative complaint in each case

alleges violations of the same federal, state, and local laws as described herein. In the previous

collective action, Roundy’s admitted it does not pay PSMs overtime compensation and asserted

the identical affirmative defense (administrative salary exemption), a defense upon which

Roundy’s bears the burden of proof. See Haugen Dkt. 13, 42. To date, there has been no decision

at any point in any of the cases as to liability on the merits.6

        The following facts in all 15 PSM cases are essentially identical. PSMs were hired by

Roundy’s by way of the PSM Job Description (see Exhibit 2) tendered to each Plaintiff during the

onboarding/hiring process. Each PSM was paid a salary. Each PSM was required to work more

than 40 hours per week (PSM Job Description, Exhibit 2). Each PSM alleges in their complaints

that they were paid only their static salary compensation for all hours worked in each week. None

of the PSMs managed any other employees and did not otherwise have any supervisory

responsibilities. (Exhibit 2). Each of the PSMs reported to the Store Manager and were evaluated

by the same template performance evaluation form. See Group Exhibit 3, Performance

Evaluations of PSM Plaintiffs. Each PSM alleges that at times, they performed non-exempt,


6
 The claims of the original Named Plaintiffs in the Haugen matter were resolved following a settlement
conference before the Hon. Magistrate Judge Sheila M. Finnegan. See Haugen Dkt. 148, 149.
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manual labor duties not listed in the PSM Job Description. Each PSM alleges that they did not

exercise sufficient independent discretion or judgment so as to satisfy the administrative

exemption.

       The salary exemptions permissible under the IMWL (and CWMO) follow the same

analytical framework as the FLSA, such that a determination of the propriety of the administrative

exemption as to the FLSA will also determine Roundy’s liability under the IMWL and CMWO.

Thus, at all times, the legal analysis for each of the PSM Plaintiffs will be identical, meaning an

identical question of law exists across each of the PSM Cases. See Zavala-Alvarez v. Darbar

Mgmt., Inc., No. 19-CV-4041, 2022 WL 2952830, at *6 (N.D. Ill. July 26, 2022) (“The analysis

for evaluating claimed overtime exemptions under the FLSA are the same for the IMWL and

CMWO . . . The sources of law are different, but the analysis is the same, so the Court will

consider the first six claims together.”).

       B.      Roundy’s Identical Motions to Dismiss.

       Roundy’s indistinguishable approach to in each of its 15 dismissal strategies across all of

the PSM Cases further bolsters the propriety of this Motion. Roundy’s identical attacks on the

limitations issue as it relates to Judge Bucklo’s order establishes there exist identical legal issues

across all 15 PSM Cases. Thus, should the PSM Cases be consolidated before this Court, the

matters would flow in lockstep with each other, through discovery, without any one case outpacing

the other. To the contrary, if the PSM Cases proceeded before 11 different courts in this district,

briefing schedules, rulings (potentially disparate, inconsistent rulings on identical legal issues),

discovery schedules and other deadlines would scatter these cases on different timelines, absorbing




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the valuable time of numerous district judges (and potentially magistrate judges) throughout the

Northern District. 7

        The progress of each case is an important consideration in the Court’s evaluation of

consolidation under Rule 42(a), as cases that are at substantially the same stage as one another

present an amenable case management process for the court to which the consolidation is assigned.

See again, Stingley v. Laci Transp., Inc., No. 18-CV-06221, 2020 WL 12182491, at *2 (N.D. Ill.

Dec. 1, 2020) (“Procedurally, both this case and Johnson are neck-and-neck.”). The Court must

also assess the same requirement under the third prong of L.R. 40.4. Here, all PSM Cases are at an

identical stage in litigation, such that it is incontrovertible that the PSM-Plaintiffs satisfy this prong

of both Rules. See again, Stingley v. Laci Transp., Inc., No. 18-CV-06221, 2020 WL 12182491,

at *3 (N.D. Ill. Dec. 1, 2020) (“As for the third factor under LR 40.4(b), Stingley has not progressed

to the point where designating Johnson as related would delay Stingley substantially. In fact,

reassigning Johnson may not delay Stingley at all.”).

        Furthermore, the fact that Roundy’s has made identical legal arguments across each of the

pertinent PSM Cases clearly establishes that the cases are ripe for consolidation. Judge Kness, in

his ruling granting consolidation in Stingley v. Laci Transp., Inc., found persuasive the fact that

Defendants in each case at issue had “filed [near-identical] discovery-related motions”. 2020 WL

12182491, at *2. The same scenario exists here, except in an even more amplified and substantial

manner, where Roundy’s filed 15 identical motions to dismiss under identical legal theories.

        C.      Consolidation Pursuant to Rule 42(a) is Warranted

        Central to this Court’s decision regarding consolidation is that the analysis under Rule

42(a) is a less stringent, more lenient test than the factors enumerated in Rule 20. That is because


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  At this time, 15 near-identical cases are scheduled to proceed before 11 different judges – representing
almost 40% of the Northern District bench.
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Rule 20 requires the claims at issue “arise out of the same transaction or occurrence”, while Rule

42(a) only requires common questions or law or fact. See Unified Messaging Sols., LLC v. United

Online, Inc., No. 13 C 00343, 2013 WL 1874211, at *5 (N.D. Ill. May 3, 2013) (“The test for

joinder under Rule 20 is more stringent than that for pretrial consolidation under Rule 42 … Rule

42(a)'s test for consolidation does not contain this prong and only requires that a common question

of fact exist.”). See also Lindsey v. Tom, No. 16-CV-613-JDP, 2016 WL 6952354, at *6 (W.D.

Wis. Nov. 28, 2016) (“In cases where joinder would be improper, the court may nonetheless

consolidate actions under Rule 42(a). See 7 Federal Practice and Procedure § 1653 ((‘However,

even if the transaction requirement cannot be satisfied, there always is a possibility that separate

actions can be instituted and then consolidated for trial under Rule 42(a), if there is a question of

law or fact common to all the parties.’)”).

       Consolidation is essential in this instance because without it, 11 different district court

judges in all 15 cases are being called upon to rule on identical motions to dismiss pursuant to Rule

12(b)(6). Different rulings in the cases on this point would frustrate the efforts of the Parties and

be a waste of judicial resources. And, of course, different outcomes under the presentation of

substantially similar facts and identical law on the statutes of limitations argument and, ultimately,

the underlying claimed exemption issues, would likely result in different back wage liability for

Roundy’s as between PSMs who worked/work for the same employer, in the same position, under

the same claimed exemption, in the same metropolitan area, with similar managers and work

conditions, and would present a tremendous waste of judicial resources.

       When considering whether cases should be consolidated pursuant to Rule 42, “there is only

one absolute requirement for consolidation: a common issue of law or fact. Curtis v. Das, No. 88

C 7249, 1990 WL 44562, at *2 (N.D. Ill. Apr. 5, 1990). To be sure, courts in this District routinely



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consolidate cases that are found to involve similar questions of law or fact, either at the request of

a party or sua sponte – even over objections by the parties. The decision to consolidate similar

cases is “within the court’s discretionary power to order consolidation, even if all parties object, if

a joint trial would avoid unnecessary costs and delay.” Smith v. Ne. Illinois Univ., No. 98 C 3555,

2002 WL 377725, at *6 (N.D. Ill. Feb. 28, 2002) (citing Allendale Mut. Ins. Co. v. Bull Data Sys.,

Inc., Nos. 91 C 6103, 91 C 7362, 1992 WL 159334, at *6 (N.D. Ill. June 30, 1992) (Judge

Gottschall ruled sua sponte that four (4) separate suits brought by four (4) separate plaintiffs arose

out of common questions of law and fact and that a joint trial via consolidation under Rule 42

would avoid unnecessary costs without prejudicing the defendants).

        Courts in this District have, pursuant to Rule 42, granted requests by parties to consolidate

cases that involve the same legal principles. Following a motion to consolidate pursuant to Rule

42 by petitioner KPASA, LLC, Judge Coar found that “[A]ll three petitions challenge the

enforceability of the December 2003 summonses issued by the IRS . . . and do so on precisely

the same legal grounds.” KPASA, LLC v. United States, No. 04 C 109, 2004 WL 1144053, at *2

(N.D. Ill. May 17, 2004). Moreover, Judge Coar ruled that “[c]onsolidating these actions will also

serve the interest of judicial economy, in that it will prevent duplication of judicial effort in

handling what will likely be the same or similar legal issues.” Id.8




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  Judge Coar also found consolidation and reassignment appropriate under Local Rule 40.4(a) and (b),
stating that “Moreover, consolidation and reassignment of the actions is consistent with Local Rule 40.4(a),
in that the actions “involve some of the same issues of fact or law … Reassignment is also appropriate
under the criteria set forth in L.R. 40.4(b), as all three cases are pending in the United States District Court
for the Northern District of Illinois, the handling of these cases by the same judge is likely to result in a
substantial saving of judicial time and effort, no delay will result from consolidation and reassignment (as
all three cases are at precisely the same stage of litigation), and the cases are susceptible of disposition in a
single proceeding.” KPASA, LLC v. United States, No. 04 C 109, 2004 WL 1144053, at *2 (N.D. Ill. May
17, 2004).
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        Courts in this District have previously found consolidation pursuant to Rule 42 appropriate

in related FLSA collective action cases.9 In Brunner v. Jimmy John’s, LLC, Judge Kocoras granted

a combined Rule 42(a) and Local Rule 40.4 motion to consolidate and reassign two separate

collective action matters involving both corporate and franchise owned Jimmy John’s restaurants.

Judge Korocas noted that:

        “While there are some differences between Brunner and Watson, the substantial similarity
        between the two cases is undeniable, as evidenced by the Ohio district court's transfer
        of Watson to      this    district    due     to     its   overlap     with Brunner. At
        minimum, Brunner and Watson both involve FLSA claims for unpaid overtime based on
        highly similar allegations asserted on behalf of nationwide FLSA collectives of Jimmy
        John's assistant store managers. Thus, there can be little debate that the requirements
        of Fed. R. Civ. P. 42 and L.R. 40.4 are met.

Brunner v. Jimmy John's, LLC, No. 14 C 5509, 2016 WL 7232560, at *2 (N.D. Ill. Jan. 14,
2016).

        It can be expected Roundy’s will argue that because some modest factual differences

relative to a few of the PSMs’ discrete job duties may exist across otherwise identical PSM Cases,

consolidation is inappropriate. However, Judge Kocoras rejected that exact same defense argument

in Brunner opposing consolidation because the “claims in these separate cases do not neatly

overlap and the parties are materially different.” Brunner v. Jimmy John's, LLC, at *2 (N.D. Ill.

Jan. 14, 2016). Judge Kocoras, looking to the plain text of Rule 42(a), stated:

         “[b]ut the claims need not “neatly overlap.” Rather, Rule 42 requires only “a common
        issue of law or fact,” and Local Rule 40.4 requires only “some of the same issues of fact
        or law” (not all the same). Thus, while Watson involves certain Ohio claims and classes
        not in Brunner, and Brunner involves certain Illinois claims and classes not in Watson, the
        requirements of Rule 42 and L.R. 40.4 are met nonetheless.” Id. (emphasis original).




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  See also Kurgan v. Chiro One Wellness Centers LLC, No. 10-CV-1899, 2015 WL 1850599, at *1 (N.D.
Ill. Apr. 21, 2015) (Judge Dow, Jr. granted motion to consolidate and to reassign later-filed case alleging
violations of FLSA and IMWL).


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        In Brunner, Judge Kocoras found a level of factual and legal differences that do not exist

here, and nevertheless ordered consolidation. Here, the legal and factual elements of each of the

15 dismissal motions are exactly the same. The legal analysis of Roundy’s claimed affirmative

defense is exactly the same in all cases, and the factual considerations on the 15 identically claimed

exemptions are substantially the same. Here, the “overlap” standard Judge Kocoras established is

easily satisfied.

        Through a review of the clear common issues of fact and law that exist between the PSM

Cases as well as the number of other similarities relative to the Parties, the procedural postures,

the legal positions and factual similarities, and this District’s standard regarding consolidation

pursuant to Rule 42(a), it is clear that consolidation of the PSM Cases is appropriate and would

“serve the interest of judicial economy. Consolidation will prevent duplication of judicial effort

in handling what will likely be the same or similar legal issues”. KPASA, LLC v. United States, at

*2 (N.D. Ill. May 17, 2004).

        D.      Consolidation and Reassignment is Also Warranted Pursuant this District’s
                Local Rule 40.4 Test

        The Northern District’s Local Rule. 40.4 provides that a case may be reassigned to the

calendar of the judge presiding over the earlier-numbered case if a movant can show that the cases

at issue are sufficiently related under 40.4(a) and meet some of the factors set forth by 40.4(b).

        Local Rule 40.4 presents a similar, but repackaged, assessment for reassignment of related

cases. Under L.R. 40.4’s analysis for reassignment, the Court must conduct a two prong test. First,

in order for related cases to be reassigned under L.R. 40.4, civil cases are related if one or more of

the following conditions are met: (1) the cases involve the same property; (2) the cases involve the

same issues of fact or law; (3) the cases grow out of the same transaction or occurrence; or (4) in




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class action suits, one or more of the classes involved in the cases is or are the same. Id. If one or

more of these factors are met, the first prong for reassignment under 40.4 is satisfied.

        Under the second prong of the L.R. 40.4 analysis, the Court must determine if each of the

following factors are met: (1) all cases are pending in the same court; (2) the handling of all cases

by the same judge is likely to result in a substantial saving of judicial time and effort; (3) the earlier

case has not progressed to the point where designating a later-filed case as related would be likely

to delay the proceedings in the earlier case substantially; and (4) the cases are susceptible of

disposition in a single proceeding. Id. Based on the analysis of L.R. 40.4 (in conjunction with Rule

42(a)), reassignment of related PSM cases to the calendar of this Court is warranted. See Stingley

v. Laci Transp., Inc., No. 18-CV-06221, 2020 WL 12182491, at *3 (N.D. Ill. Dec. 1, 2020) (“Local

Rule 40.4(a) ‘does not require complete identity of issues in order for cases to be considered

related.’ Fairbanks Capital Corp. v. Jenkins, No. 02-cv-03930, 2002 WL 31655277, at *2 (N.D.

Ill. Nov. 25, 2002); see also Williams, 2007 WL 178309, at *1 (only one of the conditions under

Local Rule 40.4(a) is required to support a finding of relatedness).”).

                i.      The Matters are Sufficiently Related Under the Criterion Set Forth by
                        L.R. 40.4(a)

        Pursuant to this District’s L.R. 40.4(a), civil cases may be sufficiently related to warrant

reassignment if (1) the cases involve the same property; (2) the cases involve some of the same

issues of fact or law; (3) the cases grow out of the same transaction or occurrence; or (4) in class-

action suits, one or more of the classes involved in the cases is or are of the same.” LR 40.4. Only

one of the above conditions must be met to satisfy LR 40.4(a). Williams v. Walsh Const., No. 05

C 6807, 2007 WL 178309, at *1 (N.D. Ill. Jan. 16, 2007). Additionally, Rule 40.4(a) “does not

require complete identity of issues in order for cases to be considered related,” Fairbanks Capital

Corp. v. Jenkins, 02–C–3930, 2002 WL 31655277, at *2 (N.D.Ill. Nov.25, 2002), rather it is

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enough that the two cases “involve some of the same issues of fact or law.” Lawrence E. Jaffe

Pension Plan v. Household Int'l., Inc., 02–C–5893, 2003 WL 21011757, at *3 (N.D.Ill. May 5,

2003) (internal citation omitted).

       Here, all PSM Cases easily satisfy the first prong of L.R. 40.4(a). As discussed at length

supra, all the PSM Cases involve identical issues of law and fact relative to Roundy’s motions to

dismiss, and identical issues of law very nearly identical issues of fact relative to Roundy’s

affirmative defenses. The PSM Cases all involve the same allegations (non-payment of overtime

wages in violation of the FLSA, IMWL and CMWO), affirmative defenses (Defendant’s claim

that Plaintiffs were exempt from overtime compensation pursuant to the administrative

exemption), and the same law firms. Each of the Plaintiffs worked for the identical employer,

under the same job title and position and sometimes under the same store manager, in the same

region (Chicagoland area), worked the same schedule, and were paid pursuant to the same

(allegedly improper) salary compensation plan. To date, the operative complaints filed in each of

the 15 PSM Cases are near-identical, evidenced by the Defendant’s submission of 15 identical

motions to dismiss.

       Although Plaintiffs need only satisfy one factor contained in L.R. 40.4(a), each Plaintiff,

as shown here, easily meets both factors (2) and (4). And since a movant need only satisfy one

prong of L.R. 40.4(a) to satisfy the entire subsection, here the standard for consolidation has been

satisfied. See Williams v. Walsh Const., No. 05 C 6807, 2007 WL 178309, at *1 (N.D. Ill. Jan. 16,

2007) (“Only one of the above conditions must be met to satisfy LR 40.4(a).”).

               ii.     The PSM Cases Satisfy all Criterion Required for Reassignment and
                       Consolidation Pursuant to L.R. 40.4(b)

       Plaintiffs can also satisfy each of the requirements of L.R. 40.4(b). This District’s L.R.

40.4(b) states that reassignment is appropriate if two or more civil cases are sufficiently related

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under L.R. 40.4(a) and “(1) [the] cases are pending in this Court; (2) the handling of [the] cases by

the same judge is likely to result in a substantial saving of judicial time and effort; (3) the earlier

case[s] [have] not progressed to the point where designating a later filed case as related would be

likely to delay the proceedings in the earlier case substantially; and (4) the cases are susceptible of

disposition in a single proceeding.” L.R. 40.4.

       As argued above at length, Plaintiffs clearly satisfy the first factor under L.R. 40.4(b) as

each PSM Case is currently pending before a district judge in the Northern District of Illinois,

Eastern Division (including this Court (2), Judge Johnson Coleman (2), Judge Guzman (2), Judge

Feinerman, Judge Ellis, Judge Alonso, Judge Valderrama, Judge Rowland, Judge Kness, Judge

Norgle, Judge Gottschall, and Judge Shah – see again, Exhibit 1). All the individual PSM Cases

severed from Cunningham were filed in the Northern District of Illinois within days of each other.

       Each Plaintiff can similarly satisfy the second factor. The consolidation and reassignment

of the PSM Cases would save significant judicial time and effort if the matters were handled by

the same judge under a common discovery plan (worth noting here, that some of the discovery yet

to be had, like depositions of certain store managers, will be testimony that will overlap within the

group of 15 PSM cases). The Court need look no further than the current status of all cases.

Currently, 11 different district judges are being asked by Roundy’s to issue different rulings based

upon identical legal and factual arguments related to each PSM-Plaintiff’s statute of limitations.

That limitations defense should not be analyzed by 11 different judges because to do so will likely

result in different applications of the same law to the same facts. Certainly, consolidation and

reassignment to one district judge (this Court) and the assigned magistrate judge would

immediately result in substantial savings of judicial time and resources on the threshold dispute

(i.e., the Rule 12 motions) by eliminating competing briefing, hearings and rulings by 11 different



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courts. Should this Motion be granted, any remaining pleading issues and the like would be

efficiently addressed by a single court with a consistent application of law.

       Consolidation and reassignment of these matters would also serve to promote judicial

efficiency should any of the parties between the PSM Cases elect to appeal a decision by the

District Court to the Court of Appeals for the Seventh Circuit. Provided that these PSM Cases

involve identical issues of law and substantially similar factual issues, if the cases remained

separate, it is possible, and perhaps even probable, that the Seventh Circuit would consider

identical issues of law on multiple separate dockets at the same time. Certainly, this would be an

incredible waste of judicial resources not only at the district court level, but at the appellate level

as well. The consolidation and reassignment of these matters would promote substantial savings

of judicial time under all scenarios going forward.

       Each of the Plaintiffs also satisfy the third prong of L.R. 40.4(b). As also stated

immediately above, the PSM Cases are currently at the exact same stage of litigation, such that the

reassignment and consolidation of the later-numbered matters with the earlier-numbered

Cunningham matter would not delay the proceeding of any PSM Case. Following consolidation

and reassignment, all cases can be assigned one briefing schedule on Roundy’s dismissal motion

and remain in the same procedural position as now. Once the cases are consolidated and

reassigned, the PSM Cases will be able to continue in lockstep through discovery toward what

Plaintiffs expect will be cross-motions for summary judgment on identical legal issues concerning

the application of the identical administrative exemption Roundy’s claims as to all PSMs.

       Lastly, Plaintiffs can satisfy the fourth factor of L.R. 40.4(b), as all PSM Cases are

susceptible of disposition in a single proceeding. There is no question that Roundy’s 15 motions

to dismiss pivot on identical questions of law and fact. With respect to the underlying affirmative



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defenses in each PSM Case, as discussed in great detail above all 15 cases involve identical issues

of law and near identical issues of fact, as all matters involve identical overtime claims by each of

the Plaintiffs and an identical affirmative defense by Roundy’s. There can be little doubt that one

proceeding (although perhaps separate trials) could adjudicate all issues as to all cases.

IV.       Conclusion

          As shown above, the PSM Cases are prime candidates for consolidation pursuant to Rule

42 and reassignment under L.R. 40.4. These cases present identical issues of law and near-identical

issues of fact and present the precise procedural tool contemplated by both Rule 42 and L.R. 40.4.

The reassignment of the PSM Cases to the calendar of this Court, to be decided alongside

Cunningham and Furhmann, would eliminate the potential for divergent rulings by 11 different

District Judges on identical legal issues and near-identical factual issues, and consolidation would

eliminate the vast inefficiencies for the Northern District of Illinois and, potentially, the Seventh

Circuit

          Plaintiffs have shown they meet the criterion for consolidation under Rule 42(a) and the

more stringent test under L.R. 40.4. Thus, Plaintiff respectfully requests this Court to exercise its

discretion and consolidate all referenced PSM Cases and reassign those 13 cases to the calendar

of this Court.

                                              Respectfully submitted,

                                              Electronically Filed 10/03/2022

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